                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                  )
                                           )   Criminal No. 4:21-cr-103
             v.                            )
                                           )
CARL MURPHY,                               )   GOVERNMENT’S
also known as, P,                          )   TRIAL BRIEF
also known as, C-Note,                     )
                                           )
             Defendant.                    )


                                     INTRODUCTION

      On July 19, 2022, the grand jury returned a Second Superseding Indictment

charging Defendant with one count: Conspiracy to Distribute a Controlled Substance,

in violation of Title 21, United States Code, Sections 841(b)(1)(A) and 846. The Second

Superseding Indictment contains a notice of prior conviction, pursuant to Title 21,

United States Code, Section 851. Trial is scheduled to begin November 14, 2022, and

is anticipated to last three days.

                            FACTUAL BACKGROUND

      From as early as 2019 and until July 20, 2021, Defendant was a large-scale

heroin source of supply for several members of a large drug trafficking organization

operating out of the Des Moines Metro. In May 2020, investigators with the Mid-Iowa

Narcotics Enforcement Task Force (MINE) and the Federal Bureau of Investigation

(FBI) initiated an investigation into a drug trafficking organization (DTO) selling

heroin and fentanyl in the Des Moines Metro. Through a variety of investigative
means, agents determined that the DTO distributed heroin/fentanyl daily throughout

Des Moines to a large customer base.

      Over the course of this investigation, agents obtained authorization or

warrants to (1) install and utilize pen register and trap and trace (PRTT) devices on

cellular telephones used by members of the DTO; (2) obtain historical and prospective

location information for cellular telephones used by members of the DTO; (3) utilize

mobile tracking devices on vehicles used by members of the DTO; and (4) obtain

search warrants for cellular telephones seized from members of the DTO.

      Based on confidential source information, in which members of the DTO

expressed to confidential sources that they traveled to Chicago to reup their

heroin/fentanyl supply, interceptions concerning product and in conjunction with pole

camera observations, text messages reviewed from seized telephones, and global

positioning system (GPS) units used on vehicles or telephones of various DTO

members, law enforcement identified Defendant as one of the DTO’s sources of

supply.

      Coconspirators would travel to Defendant’s residence in Markham, Illinois to

buy heroin directly from Defendant. When they arrived, they would enter his house

and would usually go into the basement to get heroin. Coconspirators would generally

only remain inside for five to 15 minutes, because the sole purpose of the visit was to

purchase heroin. On at least one occasion, Defendant did not have the heroin yet and

had to ask his coconspirator to wait for him to leave to obtain it. On another,

Defendant indicated that he was going to have his son handle the deal. Oftentimes,

                                          2
when coconspirators returned to Des Moines after getting heroin from Defendant,

they would text their customer base a variation of “fire in” or “fire” – indicating that

they had new, good product to sell.

        Coconspirators purchased dozens, if not hundreds, of grams of heroin each time

they replenished their supply from Defendant, doing so several times per month.

These coconspirators paid Defendant in cash for the heroin. Coconspirators then sold

the heroin to dozens of customers throughout the Des Moines metro. Nearly all of the

heroin they sold contained fentanyl.

        On July 21, 2021, Defendant was arrested pursuant to a federal arrest

warrant. When Defendant was taken into custody, his wife, son, and another adult

were left unsupervised inside their home for approximately 15 minutes. Then, during

a consent search of Defendant’s home, officers found three types of ammunition, an

empty gun box, and drug notes. During a subsequent post-Miranda interview,

Defendant told investigators that small amounts of marijuana and heroin might be

found in his home. Defendant claimed to personally use heroin in order to have sexual

intercourse with his wife. Defendant explained how he hid his marijuana and heroin

use. Defendant admitted there would be weapons belonging to others inside the home.

Defendant was shown a photo array of several people that he denied knowing. He

claimed to only know three or four of them but was unsure of most of their names.

Pole camera footage, witness interviews, and review of phone extractions shows

Defendant knew at least six additional people and distributed heroin to many of

them.

                                           3
                                   STIPULATIONS

       The government has offered several stipulations. Defendant intends to enter

one:

            •   A stipulation that the drug exhibits are drugs of the type and quantity
                reported by the lab;

       Defendant is not stipulating to his prior conviction, alleged pursuant to Title

18, United States Code, Section 851, or to the authentication and foundation of the

Title III wiretap interceptions or the pole camera footage.

                                      EVIDENCE

       In addition to witness testimony, evidence in this case includes telephone

interceptions, pole camera footage, photos, summary exhibits, certified criminal

history and BOP records. Transcripts have been prepared to accompany audio

exhibits.

       The government intends to enter several types of electronic device data. Law

enforcement seized multiple cell phones in this case, and extraction reports were

generated for each of those cell phones. Each cell phone extraction was performed by

Information Technology Specialist – Digital Forensic Examiner Robert Webber of the

FBI, who completed a certification pursuant to Rules 902(13) and 902(14). 1 (Gov. Ex.

4.)


       1Under Fed. R. Evid. 902(13) and 902(14), records that are generated by an
electronic process or system that produces an accurate result or data copied from an
electronic device if authenticated by a process of digital identification, is self-
authenticating if accompanied by an appropriate certification. This 2017 amendment
intends to eliminate the need for testimony of a foundation and authentication
witness. See Fed. R. Evid. 902(13), Committee Notes on Rules – 2017 Amendment.
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      Additionally, Title III wiretap interceptions and telephonic GPS data is stored

and maintained by agents with the Federal Bureau of Investigation. Certifications

completed by Supervisory Special Agent Jamaal King, pursuant to 902(14), were

provided to Defense counsel. (Gov. Exs. 5, 6.) Phone toll data obtained from a

subpoena was authenticated pursuant to 902(13) and (14), by a certification

completed by Meredith Thacker with T-Mobile. (Gov. Ex.7.) This certification was

also provided to Defense counsel.

      This information was outlined in the government’s Notice filed at docket

number 1247. Additionally, the government will present the necessary foundational

testimony required.

      I.     Criminal History Records

      Should the Court rule the information admissible, the government intends to

admit at trial criminal history records regarding Defendant’s prior conviction

outlined in both the Notice filed at docket number 1234, as well as the government’s

motions in limine, filed at docket number 1255.

      The government will enter self-authenticating records from the Bureau of

Prisons (BOP) demonstrating that Defendant served more than 12 months

imprisonment within the past 15 years. (Gov. Ex. 1.) The government will also

present evidence self-authenticating records of Defendant’s criminal judgment from

the Northern District of Illinois, along with the testimony of Special Agent Mark

Fredkove. (Gov. Ex. 2, 3.)



                                         5
      II.      Defendant’s and Coconspirator Statements

      The government will offer statements Defendant made to coconspirators on

telephone interceptions and directly to coconspirators, as well as recorded jail phone

calls. These are admissions by a party opponent and not hearsay. Fed. R. Evid.

801(d)(2)(A). Additionally, any statements of coconspirators made in these

conversations are admissible. United States v. Mayfield, 909 F.3d 956, 962 (8th Cir.

2018) (co-conspirators’ statements made in furtherance of a conspiracy…are

generally non-testimonial and, therefore, do not violate the Confrontation Clause.”);

Fed. R. Evid. 801(d)(2)(E). These statements also provide the necessary context for

Defendant’s. United States v. Spencer, 592 F.3d 866, 879 (8th Cir. 2010) (affirming

admission of statements by a second party to the defendant’s conversation as non-

hearsay because that party’s statements provided context for the defendant’s

statements).

      III.     Rule 1006 summaries

      The government intends to admit summaries of voluminous materials,

pursuant to Fed. R. Evid. 1006. Specifically, the government intends to admit

summaries of thousands of text messages, GPS location information, phone toll

analysis.

      “The [Federal Rules of Evidence] contemplate that the [Rule 1006] summaries

will not be admitted until the court has made a preliminary ruling as to their

accuracy.” Eighth Circuit Manual of Model Jury Instructions (2014 ed.), § 4.12 Rule

1006 Summaries, Committee Comments (citing Fed. R. Evid. 104; United States v.

                                          6
Robinson, 774 F.2d 261, 276 (8th Cir. 1985)). Defense counsel and the Court will be

provided with these proposed summary exhibits on the date of this filing.

      The government intends to admit exhibits comprised of relevant text message

exchanges between Defendant’s coconspirator’s and their heroin customers. The cell

phone extraction reports– in their entirety – contain inadmissible, irrelevant, and

prejudicial information. Those reports also contain extraneous information (like

message identification numbers, headers, and proprietary codes) that make it

extremely difficult for the jury to read.

      The government intends to admit exhibits comprised of toll information,

relating to telephone and text messages going in and out from Defendant’s phones.

The full reports from the service provider contain inadmissible, irrelevant, and

extraneous information (like longitude and latitude coordinates, peripheral telephone

numbers, headers, and proprietary codes) that make it extremely difficult for the jury

to read.

      The government intends to admit exhibits comprised of GPS location

information, relating to Defendant’s codefendants travel throughout the ongoing

conspiracy. The full reports contain irrelevant, extraneous and difficult to read

information, including longitude and latitude and proprietary codes) that make it

extremely difficult for the jury to read.

      These summary exhibits will assist the jury in understanding and synthesizing

the relevant information. It would be impractical for the jury to sift through hundreds

or thousands of pages of heavily-redacted documents to review this limited, relevant

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information. All the underlying records supporting these exhibits have been disclosed

and Defendant will have a full fair opportunity to cross-examine government

witnesses about these exhibits.

      Accordingly, the requirements for the admission of these summary exhibits

have been met, and they should be admitted as substantive evidence at trial and sent

back with the jury during deliberations. See United States v. Boesen, 541 F.3d 838,

848-49 (8th Cir. 2008) (affirming admission under Rule 1006 of charts that

summarized revenue stream – a central issue at trial – and assisted the jury’s

comprehension of witness testimony).

      IV.    Pedagogic Exhibits

      The government will seek to utilize pedagogic exhibits to summarize or

illustrate intercepted calls, pole camera footage, texts or call logs, and other evidence.

Instead of utilizing a support person to pull up each individual exhibit, highlight key

portions, and put exhibits together, the government will simply have put the

admitted evidence into a PowerPoint format. The use of pedagogic exhibits has been

utilized in several trials in this district, and there should be no objection to proceeding

in this efficient manner.

      “[Eighth Circuit] precedent . . . permits parties to use a pedagogic device, such

as a summary of witness testimony and/or trial exhibits, to organize testimony and

other evidence for the jury.” Hawkins, 796 F.3d at 865 (internal quotation marks and

citation omitted). The practice for admitting these exhibits derives from Federal Rule

of Evidence 611(a), which “gives trial courts control over ‘the mode of presenting

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evidence.’” Id. (quoting Fed. R. Evid. 611(a)). These “devices may assist the jury in

understanding the evidence, particularly in cases involving complex testimony or

transactions.” Id. “Such summaries need not be admitted into evidence, and therefore

can be created by counsel for or during closing argument.” United States v. Crockett,

49 F.3d 1357, 1361 (8th Cir. 1995).

       The underlying records for the pedagogic exhibits will be admitted as exhibits

at trial. The pedagogic exhibits will organize and review admitted evidence in a

fashion that aids the jury in understanding the basic timeline and seminal events of

the case. These exhibits will be utilized in witness examination, as well as closing

arguments, but the government does not seek to admit these exhibits or have them

with the jury during deliberation. See Hawkins, 796 F.3d at 865 (“Our precedent also

suggests, but certainly does not establish, that pedagogic devices may be admitted

into evidence.”); but see United States v. White, 737 F.3d 1121, 1136 (7th Cir. 2013)

(evidence admitted as Rule 611(a) pedagogical summaries should not be sent to the

jury for use in its deliberations).




                                          9
                                                      Respectfully Submitted,

                                                      Richard D. Westphal
                                                      United States Attorney

CERTIFICATE OF SERVICE                          By:   /s/ Mallory Weiser
I hereby certify that on November 7, 2022,            Mallory E. Weiser
I electronically filed the foregoing with the
Clerk of Court using the CM ECF system.
                                                      Amy L. Jennings
I hereby certify that a copy of this document         Assistant United States Attorneys
was served on the parties or attorneys of             U.S. Courthouse Annex
record by:                                            110 East Court Avenue, Suite 286
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